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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARLON BROWN,

            Plaintiff,                          CIVIL ACTION FILE
v.                                              NO. 1:21-CV-00010-SDG

PATRICK DAVID FLUELLEN.

            Defendant.


        JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

1.    Description of Case:

      (a) Describe briefly the nature of this action.

         Plaintiff alleges a Section 1983 claim against defendant Patrick David

         Fluellen.

      (b) Summarize, in the space provided below, the facts of this case. The

         summary should not be argumentative nor recite evidence.

      Plaintiff contends:

      On or about June 16, 2017, Marlon Brown (hereinafter, “Plaintiff or Mr.

Brown”) was violently shoved into a steel elevator while his hands were cuffed,

and legs were shackled by Deputy Patrick Fluellen (hereinafter, “Defendant

Fluellen”) of the Clayton County Sheriff’s Office (hereinafter, “CCSO”). As a

result, Mr. Brown sustained visible lacerations to his face and lips. Additionally,

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Mr. Brown sustained several chipped and cracked teeth. Despite there being direct

video evidence of the incident, CCSO concluded that Defendant Fluellen’s actions

did not violate any CCSO policies or procedures. However, not until the video

incident went viral on social media, several months later, was Defendant Fluellen

placed on administrative leave for his actions against Mr. Brown. Further, after an

investigation by the Georgia Bureau of Investigation (hereinafter, “GBI”),

Defendant Fluellen was charged with two felonies, Aggravated Battery and

Violation of Oath of Office and subsequently arrested. Mr. Brown sustained

permanent scarring and injuries as a result of Defendant Fluellen’s malicious and

sadistic acts towards him. Mr. Brown also suffers from severe mental anguish and

severe emotional distress.

      Defendant contends:

      On June 16, 2017, while working in the Clayton County Courthouse, Deputy

Patrick Fluellen (“Deputy Fluellen”) heard plaintiff causing a disturbance and

shouting profanity towards the presiding judge from a holding cell.        Deputy

Fluellen entered the holding area and encountered plaintiff who was refusing to

comply with the courthouse security officer, Rasheeda Leak’s commands to get

into the elevator to be escorted out of the Courthouse. Deputy Fluellen instructed

plaintiff to get into the elevator, but he refused. Deputy Fluellen repeated this

instruction but plaintiff continued refusing to get into the elevator and instead


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continued to shout profanities.    Deputy Fluellen attempted to manually assist

plaintiff to the elevator but he resisted by locking his legs and placing both of his

feet on the ground and pushing backwards. Deputy Fluellen lifted plaintiff from

the ground and attempted to physically move him into the elevator at which point

plaintiff stumbled, came out of his shoes, and fell into the elevator. Deputy

Fluellen contends that his use of force was objectively reasonable under the totality

of the circumstances and did not violate any of plaintiff’s rights under the United

States Constitution, Georgia Constitution, or any other laws.

      (c) The legal issues to be tried are as follows:

         Plaintiff contends:

    Whether defendant is liable for plaintiff’s Section 1983 claim of excessive

      force.

    Whether plaintiff’s claims are barred by qualified immunity.

    Whether defendant violated plaintiff’s constitutional rights.

    Whether plaintiff can prove that defendant is subject to liability under 42

      U.S.C. 1983.

    Whether defendant is liable for plaintiff’s claims of damages.

    Whether defendant is liable for plaintiff’s state law claims.

    Whether defendant is liable for plaintiff’s punitive damages.



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      Defendant contends:

 Whether plaintiff’s claims are barred by qualified immunity.

 Whether plaintiff’s claims are barred by official immunity.

 Whether defendant violated plaintiff’s constitutional rights under the Fourth

   and/or Fourteenth Amendments in violation of 42 U.S.C. § 1983.

 Whether defendant is liable to plaintiff under state law for battery, assault,

   intentional infliction of emotional distress, and/or any violation of the

   Georgia Constitution.

 Whether defendant is liable for plaintiff’s claims of damages, including

   attorney’s fees and punitive damages.

   (d) The cases listed below (include both style and action number) are:

      (1)   Pending Related Cases: N/A

      (2)   Previously Adjudicated Related Cases: State of Georgia v.

            Patrick David Fluellen, 2018-CR-02778-00 (Superior Ct. Clayton

            Cnty., December 16, 2018).

2. This case is complex because it possesses one or more of the features

   listed below (please check):

   _______ (1) Unusually large number of parties

   _______ (2) Unusually large number of claims or defenses


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   _______ (3) Factual issues are exceptionally complex

   _______ (4) Greater than Normal Volume of evidence

   _______ (5) Extended discovery period is needed

   _______ (6) Problems locating or preserving evidence

   _______ (7) Pending parallel investigations or action by government

   _______ (8) Multiple use of experts

   _______ (9) Need for discovery outside United States boundaries

   _______(10) Existence of highly technical issues and proof

   _______(11) Unusually complex discovery of electronically stored

   information.

3. Counsel:

   The following individually-named attorneys are hereby designated as

   lead counsel for the parties:

   Plaintiff:        Harry M. Daniels

   Defendant:        Jack R. Hancock and A. Ali Sabzevari

4. Jurisdiction:

   Is there any question regarding this Court’s jurisdiction?

     _ ___ Yes           __X__ No

   If “yes,” please attach a statement, not to exceed one page, explaining

   the jurisdictional objection. When there are multiple claims, identify


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   and discuss separately the claim(s) on which the objection is based.

   Each objection should be supported by authority.

5. Parties to this Action:

   (a) The following persons are necessary parties who have not been

      joined:

      None known at this time.

   (b) The following persons are improperly joined as parties: None.

   (c) The names of the following parties are either inaccurately stated or

      necessary portions of their names are omitted:

      None.

   (d) The parties shall have a continuing duty to inform the Court of any

      contentions regarding unnamed parties necessary to this action or

      any contentions regarding misjoinder of parties or errors in the

      statement of a party’s name.

6. Amendments to the Pleadings:

   Amended and supplemental pleadings must be filed in accordance with

   the time limitations and other provisions of FED. R. CIV. P. 15. Further

   instructions regarding amendments are contained in LR 15.

      (a) List separately any amendments to the pleadings that the parties

         anticipate will be necessary: None known at this time.


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     (b) Amendments to the pleadings submitted LATER THAN THIRTY

        (30) DAYS after the Joint Preliminary Report and Discovery Plan

        has been filed, or should have been filed, will not be accepted for

        filing, unless otherwise permitted by law.

7. Filing times for Motions:

  All motions should be filed as soon as possible. The local rules set

  specific filing limits for some motions. These times are restated below.

  All other motions must be filed WITHIN THIRTY (30) DAYS after the

  beginning of discovery, unless the filing party has obtained prior

  permission of the court to file later. Local Rule 7.1A (2).

     (a) Motions to Compel: before the close of discovery or within the

        extension period allowed in some instances. Local Rule 37.1.

     (b) Summary Judgment Motions: within thirty (30) days after the

        close of discovery, unless otherwise permitted by court order.

        Local Rule 56.1.

     (c) Other Limited Motions: Refer to Local Rules 7.2A, 7.2B, and

        7.2E, respectively, regarding filing limitations for motions

        pending on removal, emergency motions, and motions for

        reconsideration.




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      (d) Motions Objecting to Expert Testimony: Daubert motions with

         regard to expert testimony no later than the date that the

         proposed pretrial order is submitted. Refer to Local Rule 7.2F.

8. Initial Disclosures:

   The parties are required to serve initial disclosures in accordance with

   FED. R. CIV. P. 26. If any party objects that initial disclosures are not

   appropriate, state the party and basis for the party’s objection. NOTE:

   Your initial disclosures should include electronically stored information.

   Refer to FED. R. CIV. P. 26(a)(1)(B).

9. Request for Scheduling Conference:

   Does any party request a scheduling conference with the Court? If so,

   please state the issues which could be addressed and the position of each

   party.

   The parties do not request a scheduling conference at this time.

10. Discovery Period:

   The discovery period commences thirty (30) days after the appearance

   of the first defendant by answer to the complaint. As stated in LR

   26.2A, responses to initiated discovery must be completed before

   expiration of the assigned discovery period.




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Cases in this Court are assigned to one of the following three discovery

tracks: (a) zero month discovery period, (b) four months discovery

period, and (c) eight months discovery period. A chart showing the

assignment of cases to a discovery track by filing category is a contained

in Appendix F. The track to which a particular case is assigned is also

stamped on the complaint and service copies of the complaint at the

time of filing.

Please state below the subjects on which discovery may be needed:

Plaintiff contends:

(a)   The factual basis of the claims asserted against defendant.

(b)   The factual basis for defendant’s defenses and immunities.

(c)   The factual basis of plaintiff’s alleged damages.

Defendant contends:

(a)   The factual basis of the claims asserted against defendant.

(b)   The factual basis for defendant’s defenses and immunities.

(c)   The factual basis of plaintiff’s alleged damages.

If the parties anticipate that additional time beyond that allowed by the

assigned discovery track will be needed to complete discovery or that

discovery should be conducted in phase or be limited to or focused upon

particular issues, please state those reasons in detail below:


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  Plaintiff and defendant do not believe that additional time will be needed to

  conduct discovery at this time.      However, in the event that it appears

  discovery cannot be completed within the established deadlines, the parties

  will promptly request a discovery extension.

11. Discovery   Limitation    and     Discovery   of   Electronically   Stored

  Information:

  (a) What changes should be made in the limitations on discovery

     imposed under the Federal Rules of Civil Procedure or Local Rules

     of this court, and what other limitations should be imposed?

     None.

  (b) Is any party seeking discovery of electronically stored information?

     X          Yes          __________No

    If “yes,”

  (1) The parties have discussed the sources and scope of the production of

     electronically stored information and have agreed to limit the scope

     of production (e.g., accessibility, search terms, date limitations, or

     key witnesses) as follows: None known at this time.

  (2) The parties have discussed the format for the production of

     electronically stored information (e.g., Tagged Image File Format

     (TIFF or .TIF files), Portable Document Format (PDF),or native),


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     method of production(e.g., paper or disk), and the inclusion or

     exclusion and use of metadata, and have agreed as follows:

     Electronic information that can be produced in PDF or paper format will

     be produced on a compact-disk or via a cloud based software. The

     parties reserve the right to seek electronic information through any

     additional manner. The parties agree to provide reasonable notice of the

     need for an additional production method.

  (3) In the absence of agreement on issues regarding discovery of

     electronically stored information, the parties shall request a

     scheduling conference in paragraph 9 hereof. The parties have come

     to a general agreement regarding the discovery of electronically stored

     information; therefore, the parties will not require a scheduling

     conference.    However, the parties reserve the right to request a

     conference should it become necessary.

12. Other Orders:

    What other orders do the parties think that the Court should enter

    under Rule 26(c) or under Rule 16(b) and (c)? None at this time.

13. Settlement Potential:

  (a) Counsel for the parties certify by their signatures below that they

     conducted a Rule 26(f) conference that was held on October 13, 2021,


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      and that they participated in settlement discussions. Other persons

      who participated in the settlement discussions are listed according to

      party.

For Plaintiff:

Lead counsel (signature): /s/ Harry M. Daniels
                            Harry M. Daniels

For Defendant:

Lead counsel (signature): /s/ Jack R. Hancock
                            Jack R. Hancock

(b) All parties were promptly informed of all offers of settlement and

      following discussion by all counsel, it appears that there is now:

      (__) A possibility of settlement before discovery.

      ( X ) A possibility of settlement after discovery.

      (__) A possibility of settlement, but a conference with the judge is

      needed.

      (__) No possibility of settlement.

(c) Counsel ( X ) do or ( _ ) do not intend to hold additional settlement

conferences among themselves prior to the close of discovery.              No

proposed date for the next settlement conference has been set.

(d)      The following specific problems have created a hindrance to

settlement of this case. No specific problems.


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   14. Trial by Magistrate Judge:

       Note: Trial before a Magistrate Judge will be by jury trial if a party is

       otherwise entitled to a jury trial.

       (a) The parties (__) do consent to having this case tried before a

       magistrate judge of this Court. A completed Consent to Jurisdiction

       by United States Magistrate Judge form has been submitted to the

       clerk of court this ______day _______________, of 20____.

       (b) The parties (X) do not consent to having this case tried before a

          magistrate judge of this Court.

      Respectfully submitted this the 20th day of October, 2021.

                                               FREEMAN MATHIS & GARY, LLP

                                               /s/ A. Ali Sabzevari
                                               Jack R. Hancock
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                                               /s/ Harry M. Daniels
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                            SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed and filed by the parties, the court orders that

the time limits for adding parties, amending the pleadings, filing motions,

completing discovery, and discussing settlement are as set out in the Federal Rules

of Civil Procedure and the Local Rules of this Court, except as herein modified:



      IT IS SO ORDERED, this ____ day of ____________, 2021.


                                      _________________________________
                                      STEVEN D. GRIMBERG
                                      UNITED STATES DISTRICT JUDGE




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing JOINT PRELIMINARY

REPORT AND DISCOVERY PLAN to the Clerk of Court using the CM/ECF

system which will automatically send electronic mail notification of such filing to

counsel of record who are CM/ECF participants:

                               Harry M. Daniels
                                Khalil C. Eaddy
                            Daniels and James, LLC
                        233 Peachtree St. NE, Suite 1200
                              Atlanta, GA 30303

      This 20th day of October, 2021.


                                        /s/ A. Ali Sabzevari
                                        A. Ali Sabzevari
                                        Georgia Bar No. 941527


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